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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 IN RE:                                         §           CASE NO. 25-30155
                                                §
 ALLIANCE FARM AND RANCH, LLC                   §
 LLC                                            §
                                                §
                                                §
        DEBTOR.                                 §            Chapter 11

    NOTICE OF HEARING ON DEBTOR’S APPLICATION TO AUTHORIZE
EMPLOYMENT AND RETENTION OF OKIN ADAMS BARTLETT CURRY LLP AND
 APPLICATION FOR ENTRY FOR AN ORDER AS COUNSEL FOR THE DEBTOR
                        (Relates to ECF # 26)



PLEASE TAKE NOTICE that the Court has set a hearing to Application for an Order
Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code Authorizing the Employment
and Retention of Okin Adams Bartlett Curry LLP as Counsel for the Debtor (ECF Docket
#26)(the “Application”) will be held on May 1, 2025, at 11:00 a.m. (Prevailing Central Time)
at the United States Bankruptcy Court at 515 Rusk Street, in Courtroom 400, 4th Floor, Houston,
TX 77002 before the Honorable Alfredo R. Perez, United States Bankruptcy Judge, for the
Southern District of Texas, Houston Division.


Respectfully submitted this 14th day of April 2025.

                                            OKIN ADAMS BARTLETT CURRY LLP
                                            By:    /s/ Timothy L. Wentworth
                                                 Timothy L. Wentworth
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                                                      PROPOSED COUNSEL FOR
                                                      ALLIANCE FARM AND RANCH, LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2025, a true and correct copy of the foregoing Notice of
Hearing was served via the Court’s CM/ECF system and via first class mail to all parties on the
attached service list, consenting to service through the same.



                                              By:      /s/ Timothy L. Wentworth
                                                    Timothy L. Wenworth
